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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                      Case No.: 1:21-cv-21772

  JOSE OVIEDO,                                        )
                                                      )
                    Plaintiff(s),                     )
                                                      )
  v.                                                  )
                                                      )
  Bozzuto & Associates, Inc. d/b/a The                )
  Bozzuto Group a/k/a Bozzuto Management              )
  Company (et al.),                                   )
                                                      )
                   Defendant(s).                      )
                                                      )
                                                      )

                         CERTIFICATE OF INTERESTED PERSONS
                        AND CORPORATE DISCLOSURE STATEMENT

          The Plaintiff, JOSE OVIEDO, (hereinafter the “Plaintiff”) hereby discloses the following

  pursuant to the Local Rules:

       1. The name of each person, attorney, association of persons, firm, law firm, partnership, and

          corporation that has or may have an interest in the outcome of this action—including

          subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded companies that

          own 10% or more of a party’s stock, and all other identifiable legal entities related to any

          party in the case:

              a. JOSE OVIEDO;

              b. Saenz & Anderson, PLLC

              c. R. Martin Saenz, Esq.

              d. Tanesha Wells Blye, Esq.

              e. Aron Smukler, Esq.
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             f. Bozzuto & Associates, Inc. d/b/a The Bozzuto Group a/k/a Bozzuto Management

                 Company (et al.)

             g. Steven G. Metzger, Esq.

             h. Hillary H. Arnaoutakis, Esq.

             i. Gallagher, Evelius & Jones, LLP

     2. The name of every other entity whose publicly-traded stock, or debt may be substantially

          affected by the outcome of the proceedings:

             a. None.

     3. The name of every other entity which is likely to be an active participant in the proceedings,

          including the debtor and members of creditor’s committee (or twenty largest unsecured

          creditors) in bankruptcy cases:

             a. None.

     4. The name of each victim (individual or corporate) of civil and criminal conduct alleged to

          be wrongful, including every person who may be entitled to restitution:

             a. JOSE OVIEDO.

          I HEREBY CERTIFY that, except as disclosed above, I am unaware of any actual or

  potential conflict of interest involving the district judge and magistrate judge assigned to this case,

  and will immediately notify the Court in writing on learning of any such conflict. I further certify

  that I have inserted “None” if there is no actual or potential conflict of interest.
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                                                      Respectfully submitted,

                                                      /s/Tanesha W. Blye, Esq.
                                                      Fla. Bar No.: 0738158
                                                      Email: tblye@saenzanderson.com
                                                      SAENZ & ANDERSON, PLLC
                                                      20900 NE 30th Avenue, Ste. 800
                                                      Aventura, Florida 33180
                                                      Telephone: (305) 503-5131
                                                      Facsimile: (888) 270-5549
                                                      Attorney for Plaintiff


                                   CERTIFICATE OF SERVICE

         I hereby certify that on June 15, 2021, I electronically filed the foregoing document with
  the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served
  this day on all counsel of record or pro se parties identified on the attached Service List in the
  manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or
  in some other authorized manner for those counsel or parties who are not authorized to receive
  electronically Notices of Electronic Filing.


                                                              By: /s/Tanesha W. Blye, Esq.

                                           SERVICE LIST
     JOSE OVIEDO v. Bozzuto & Associates, Inc. d/b/a The Bozzuto Group a/k/a Bozzuto
                               Management Company
                                        Case No.
                    United States District Court, District of Florida

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   Counsel for Plaintiff(s)
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